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UNITED STATES DISTRICT COURT
M]DDLE DISTRICT OF FLORIDA

CAsE No.; <`6 ',\B-CV-lE`>E>Ll-'l"l `l T(:\W

A.R. ex rel. LISA MATLOCK, an individual,
on behalf of herself and all others similarly situated,

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MEDICREDIT, INC., a foreign corporation, ;;;_ §§

and THE OUTSOURCE GROUP, LLC, i‘ '

a foreign limited liability company,

Defendants.
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CLASS ACTION COMPLAlN'I` FOR STATUTORY DAMAGES

AND lNJUNCTlvE RELIEF UNDER 47 U.S.C. § 227 ezseg.,
LIE TELEPHONE CONSUMER PROTECTION ACT

JURY DEMAND
1. “All too often the invasion of privacy itself will go unknown. Only by
striking at all aspects of the problem can privacy be adequately protected.” S. Rep.
No. 1097, at 69. See also Hearings on H. R. 3378 before the Subcommittee on
Courts, Civil Liberties, and the Administration of Justice of the House Committee
on the Judiciary, 99“‘ cong., lsi sess. and 2d sess., 290 (1986)_
2. Plaintiff, LISA MATLOCK on behalf of her minor child “A.R.”,

brings this class action suit under the Telephone Consumer Protection Act, 47

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§ U.S.C. § 227, et seq, (“TCPA”), which prohibits unauthorized autodialed and/or
8 prerecorded and/or artificial voice messages to cell phones. In violation of the

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prerecorded and/or artificial voice messages to cell phones. ln violation of the
TCPA, Defendants have engaged in an illegal scheme of obtaining thousands upon
thousands of consumers’ cellular telephone numbers and have illegally called said
consumers using either an automatic telephone dialing system as well as placing
calls which used both an artificial and/or prerecorded voice. More simply put,
without first obtaining prior express consent of the called party, Defendants have
illegally called the cellular telephones of tens of thousands of individuals

3. By effectuating these unauthorized phone calls, Defendants have
caused consumers actual harm, not only because consumers were subjected to the
aggravation that necessarily accompanies these “robocalls”, but also because
consumers frequently have to pay their cell phone service providers for the receipt
of such calls. In order to redress these injuries, Plaintiff, on behalf of herself and
the proposed class of similarly situated individuals, brings this suit under the
TCPA, which specifically prohibits unauthorized autodialed and/or artificial voice
calls to cell phones. On behalf of the class, Plaintiff` seeks an injunction requiring
Defendants to cease their illegal behavior and an award of statutory damages to the
class members, together with costs and reasonable attomey’s fees.

JURISDICTlON AND WME
4. This court has jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C. §

2271 This Court also has jurisdiction under 28 U.S.C. § l332(d). Venue in this

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District is proper because Plaintif`f resides here and Defendants conduct business
and placed calls into this District. There is a diversity of citizenship with all
Defendants and the total amount in controversy exceeds $5 million dollars
exclusive of interest and costs. None of the exceptions to 28 U.S.C. § 1332(d) are
applicable in the instant action.

PARTIES

5. Plaintiff, LISA MATLOCK by and through her minor child A.R.
(“Plaintiff” or “Ms. Matlock”), are natural persons, and citizens of the State of
Florida, currently residing in this District.

6. Def`endant MEDICREDIT, INC. is a registered corporation in the
State of Missouri, with its headquarters at Three City Place Drive, Suite 690, St.
Louis, Missouri 63141.

7. Defendant THE OUTSOURCE GROUP, LLC (“TOG”) is a citizen of
Missouri, and has its headquarters in St. Louis, Missouri, at the same location as
Medicredit: Three City Place Drive, Suite 690, St. Louis, Missouri 63141.

8. The two defendants act in concert to provide health care related
services and products, including the debt collection that is the subject of this case.

FCC FINDINGS REGARDING AUTOMATED OR PRERECORDED
CALLS TO CELLULAR TELEPHONES

l 9. According to findings by the Federal Communication Commission

(“FQC”), the agency Congress vested with authority to issue regulations

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implementing the TCPA, such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of
privacy than live calls, and such calls can be costly and inconvenient. The FCC
also recognized that wireless customers are charged for incoming calls whether
they pay in advance or afier the minutes are used. See In re Rules and Regulations
Implementing the Telephone Consumer Protection Act of 1991 , CG Docket No. 02-
278, Report and Order, 18 FCC Rcd 14014 (2003).

lO. Furthermore, the FCC has clarified that any equipment that has the
capacity to dial numbers without human intervention constitutes an “automatic
telephone dialing system” pursuant to the TCPA. In re Rules and Regulations
Implerv¢enting the Telephone Consumer Protection Act of 1991, CG Docket No. 02-
278, Report and Order, 23 F.C.C.R. 559 111[ 12-14 (Jan. 4, 2008).

11. Under the TCPA and pursuant to the 2008 Declaratory Ruling, the
burden is on Defendant to demonstrate that Plaintiffs provided express consent
within the meaning of the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at
565 (1] 10).

FACTUAL ALLEQATIONS
12. Since early 2011, and possibly earlier, defendants have been calling

plaintiff on her cellular telephone.

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13. For example, defendants (or some person on their behalf) called
plaintiff using the caller ID 866-316-9222, on at least the following approximate

dates and times:

 

03/24/11 6136PM
O3l24/1 1 6:37PM
05/19/11 4:12PM
02/09/12 11:41AM
08/16/11 5121 PM
09/19l11 3147PM
09/27/11 1 1 :24AM
09/28/11 2247PM
10/05/11 1:32PN|
10/10/11 5:15PM
10/17/11 8159PM
10/24/11 2232PM
11/01/11 3:57PM
11/01/11 4208PM
11/11/11 3:58PM
11/14/11 4:49PM
12/07/11 1209PM
01/19/12 3221PM
04/23/12 02:50PN|
04/26/12 04:33PN|
06/08/ 12 08:54AM
06/12/12 04:42PM
06/12/12 07:53PM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

14. Upon information and belief, Plaintiff’s cellular telephone number
was obtained through a third party electronic database during the skip-tracing
process. A third party electronic database in this context is defined as a business
such as Google, First Data Resources, Accurint, MasterFiles, or any other similar
company, which is in the market of either selling or otherwise providing personal
consumer information (i.e. telephone numbers) to debt collectors and/or other

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companies
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15. Upon information and belief, these calls were made using an
automatic telephone dialing system, also known as an “ATDS” or “auto-dialer”;
the auto-dialer used by Defendants had the capacity to dial numbers without
human intervention. It also had the capacity to store or produce telephone numbers
to be called using a random or sequential number generator and to dial such
numbers.

16. Defendants did not have the prior express consent of Plaintiff, or the
other class members, either to call her cellular telephone using an auto-dialer
and/or prior express consent to make calls to her cellular telephone using an
artificial voice and/or prerecorded message.

l7. On or about October 27, 2011, plaintiff sent a fax to Medicredit,
indicating that calls should cease. Medicredit received this fax, but the calls did not
stop.

18. Defendants knew that their calls may have violated the TCPA. Indeed,
TOG has a TCPA white paper on its website, available at
http://theoutsource,<zroup.com/hot-industry-tooics-old-law-has-costlv-new-
impact.php, which notifies website visitors that they should obtain prior express

consent to make autodialed calls before engaging a predictive dialer.

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CLASS ACTION ALLEGATIONS

19. This action is brought on behalf of a class consisting of (i) all persons
nationwide; (ii) who received a call; (iii) on their cellular telephone; (iv) during the
four year period prior to the filing of the complaint in this action through the date
of certification; (v) by either defendant or on its behalf; (vi) and the call was placed
using an automatic telephone dialing system, or which contained either an artificial
and/or a prerecorded voice message; (vii) and there was no consent to make such
call (for example, the cellular telephone number was obtained through a third
party, defendant had been notified that it was calling the wrong number, or there
was a cease and desist that was not heeded).

20. Because it is partially based upon a “consent” affirmative defense
which has not yet been raised, further refinement of the class definition may be
appropriate afier discovery has been taken.

21. Plaintiff alleges on information and belief based upon the Defendants’
use of mass telephone dialing techniques that the class is so numerous that joinder
of all members of the class is impractical.

22. There are questions of law or fact common to the class, which
common issues predominate over any issues involving only individual class
members. The common factual and/or legal issues common to each class member

are asi follows:
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(a) Whether Defendants’ conduct is governed by the TCPA?

(b) Whether the calls by Defendants violated the TCPA?

(c) Are the class members entitled to treble damages based upon
the willfulness of Defendants’ conduct?

(d) Whether Defendants should be enjoined from engaging in such
conduct in the future?

23. Plaintiff's claim is typical of those of the class members. All claims
are based on the same facts and legal theories.

24. Plaintiff will fairly and adequately protect the interests of the class,
She :has retained counsel experienced in handling actions involving unlawful
practices under the TCPA and class actions. Neither Plaintiff nor her counsel has
any interests which might cause them not to vigorously pursue this action.

25. Certification of the class under Rule 23(b)(3) of the Federal Rules of
Civil Procedure is also appropriate in that:

(l) The questions of law or fact common to the members of the
class predominate over any questions affecting an individual
member, and such common questions are dispositive ones, such
that whether the class wins or loses will be determinable

through one broad stroke.

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(2) A class action is superior to other available methods for the fair
and efficient adjudication of the controversy. Many class
members are undoubtedly unaware that their rights have been
violated, and the small stakes for individual claims render this
type of case appropriate for class treatment.

26. Certification of a class under Rule 23(b)(2) of the Federal Rules of
Civil Procedure is also appropriate in that Defendants have acted on grounds
generally applicable to the class thereby making appropriate relief with respect to
the class as a whole.
1 27. Plaintiff requests certification of a hybrid class under Rule 23(b)(3),
Federal Rules of Civil Procedure, for monetary damages and pursuant to Rule
23(b)(2) for injunctive relief.

COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

28. Plaintiff incorporates all previous paragraphs

29. Defendants placed telephone calls to cellular telephones (i.e. members
of the class) using either an automatic telephone dialing system or which contained
an aitificial voice message and/or a prerecorded voice message.

30. The calls were made without the prior express consent of the called

parties.

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1 31. The aforesaid calls were made in violation of the TCPA, 47 U.S.C. §
227(b)(1)(A)(iii).
WHEREFORE, Plaintiff requests that the Court enterjudgment in her favor
and in favor of the class, and against Defendants for:
(a) An order certifying this case to proceed as a class action;
(b) Minimum statutory damages of $500 dollars per call;
(c) Willful or knowing damages of up to $1500 dollars per call;
(d) An injunction requiring Defendant to cease all communications
in violation of the TCPA;
(e) Reasonable attomey’s fees and costs; and
(f) Such further relief as this Court may deem appropriate

JURYDM
Plaintiff demands trial by jury.

Dated this 10th Day ofJune, 2013.
Respectfiilly submitted,

SCOTT D. OWENS, P.A.

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DOCUMENT PRESERVATION DEMAND

Plaintiff hereby demands that the defendant take affirmative steps to
preserve all recordings data, emails, recordings phone records, dialer records,
documents and all other tangible things that relate to the allegations herein,
plaintiff or the putative class members, or the making of telephone calls, the events
described herein, any third party associated with any telephone call, campaign,
account, sale or file associated with plaintiff or the putative class members, and
any account or number or symbol relating to any of them. These materials are very
likely relevant to the litigation of this claim. If defendant is aware of any third
party that has possession, custody or control of any such materials, plaintiff
demands that defendant request that such third party also take steps to preserve the
materials This demand shall not narrow the scope of any indepeent document

preservation duties of the defendant
1 s/Scott D. Owens _

  

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